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 1   L. BRUCE LOCKE (#177787)
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 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     AARON RUNNER
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )               No. CR. S-08-186 MCE
                                         )
 9                     Plaintiff,        )
                                         )               STIPULATION TO CONTINUE
10                                       )               SCHEDULE FOR SENTENCING
           v.                            )
11                                       )
     AARON RUNNER, et al.,               )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Aaron Runner, by
15   and through his defense counsel, Bruce Locke, and the United States of America by and through its
16   counsel, Assistant United States Attorney Lawrence Brown, that the schedule for disclosure of the
17   Pre-Sentence Report and the date for sentencing should be amended and that the new schedule will
18   be that the draft Pre-Sentence Report shall be disclosed to the parties on September 4, 2008; the
19   informal objections shall be served on the Probation Officer and opposing counsel on September 25,
20   2008; the final Pre-Sentence Report shall be filed with the Court and served on the parties on
21   October 2, 2008; the Sentencing Memoranda and formal objections to the Pre-Sentence Report shall
22   be filed on October 9, 2008; and the date for judgement and sentencing will be October 16, 2008 at
23   9:00 a.m.
24
25   DATED: September 22, 2008                    ______/S/_______________
                                                  L. BRUCE LOCKE
26                                                Attorney for Aaron Runner
27
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29                                                   1
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 3
 4   DATED: September 22, 2008             /s/ Bruce Locke
                                        For LAWRENCE BROWN
 5                                      Assistant United States Attorney
 6
 7
 8
           IT IS SO ORDERED.
 9
10
      Dated: September 23, 2008
11
                                        ________________________________
12                                      MORRISON C. ENGLAND, JR.
13                                      UNITED STATES DISTRICT JUDGE

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